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                                    No. 15-11517
                                                                     APR 2 2   2016
                                (Filed April 22,201s)
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 SFIAHIR MEFIDI GHAFFAzu,
                           Plaintiff,      ) Subject Matter Jurisdiction; Privacy
              v.                           ) Act; Bivens Actions; 28 U.S.C. g 2201;
                                           ) 26 U.S.C. $ 743 1; Pro Se Corporate
 THE UNITED STATES,                        )   Representation.
                            Defendant.     )

       Shahir Mehdi Ghaffari, Cupertino, CA, pro      se.


      Blaine G. Saito, United States Department of Justice, Tax Division, with
whom were Caroline D. Ciraolo,, Acting Assistant Attomey General, David I
Pincus, Chief, Court of Federal Claims Section, and G. Robson Stewart, Assistant
Chief, Court of Federal Claims Section, Washington, DC, for defendant.

                                        OPINION

Merow, Judge.

       On October 8,2015, plaintiff filed a complaint alleging various instances of
mistreatment by the Internal Revenue Service. See Doc. 1. Plaintiff asserts three
claims: "(1)damagesforviolationof5U.S.C.g552a(thePrivacyActof 1974);(2)
damages against the Defendants under 'Bivens', and injunctive and declaratory
relief against the IRS and Treasury Department pursuant to 28 U.S.C. $$ 2201 and
2202, for violation of the First and Fifth Amendments; and (3) damages under 26
U.S.C. $ 743 I forviolationof26U.S.C.6103 (forinspectionanddisclosureofreturn
information)." Id. at 5.

       The government contends that this court lacks jurisdiction to entertain any of
plaintiff s claims, and moves the court to dismiss the case in its entirety. .See Doc.
7. For the following reasons, the court agrees with the govemment's position.
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                                      ANALYSIS

      The Court of Federal Claims is a court of limited iurisdiction, the scope of
which is set out by the Tucker Act:

       The United States Court of Federal Claims shall have jurisdiction to
       render judgment upon any claim against the United States founded
       either upon the Constitution, or any Act of Congress or any regulation
       of an executive department, or upon any express or implied contract
       with the United States, or for liquidated or unliquidated damages in
       cases not sounding in tort.

28 U.S.C. $ la9l(a)(l). Plaintiff must, as a threshold matter, carry the burden of
establishing this court's jurisdiction. See Reynolds v. Army & Air Force Exch. Serv.,
846 F.2d 746,748 (Fed. Cir. 1988) (stating that plaintiff "bears the burden of
establishing subject matter jurisdiction by a preponderance of the evidence")

I.     Privacy Act Claims

        The first claim over which the plaintiff asks the court to assert jurisdiction
allegedly arises from the Privacy Act. Plaintifftakes the position that he is entitled
to both injunctive relief and monetary damages as a result of the govemment's
unduly-burdensome or improper requests for documents and information relating to
past tax years. See Doc. 1 at 15-20. The Federal Circuit has clearly held, however,
that this court lacks jurisdiction to consider Privacy Act claims. See Bush v. United
States, 627 F. App'x 928,930 (Fed. Cir. 2016) (citing Treece v. United States, 96
Fed. Cl. 226,232 (201 0). See also Conner y. United States, Case No. 1 : 1 5-cv-5 I 07,
2016 WL 125289, at *2 (Fed. Cir. Jan. 12,2016). Therefore, plaintiff s Privacy Act
claim is dismissed for lack of iurisdiction.

II.   Bivens Actions

      Plaintiff alleges, in the second count of his complaint, that certain federal
officials are personally liable to him for violations of his constitutional rights on the
theory established by the Supreme Court of the United States in Bivens v. Six
Unknown Agents of Fed. Bureau of Narcotics, 403 U.S. 388 (1971). See Doc. I at
2O-23. As the Federal Circuit has clearly explained, this court lacks jurisdiction to
consider   B iv   ens claims'.
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      In Bivens, the Supreme Court held that a party may, under certain
      circumstances, bring an action for violations of constitutional rights
      against Govemment officials in their individual capacities. Bivens v. Six
      Unknown Named Agents of the Federal Bureau of Narcotics,403 U.S.
      388, 91 S.Ct. 1999, 29 L.Ed.2d 619 (1971). The Tucker Act grants rhe
      Court of Federal Claims jurisdiction over suits against the United
       States, not against individual federal officials. 28 U.S.C. g 1a91(a).
      Thus, the Bivens actions asserted by appellants lie outside the
      jurisdiction of the Court of Federal Claims.

Brownv. UnitedStates,l05 F.3d 621,624 (Fed. Cir. 1997). Onthisbasis,plaintiffs
Bivens claims alleged against any individual for violating his constitutional rights
are dismissed for lack ofjurisdiction.

      In the penultimate paragraph ofthis second count, plaintiffalso states that "the
Internal Revenue Service, the department        of Treasury, committed the same
constitutional violations," and seeks declaratory and injunctive reliefpursuant to 28
U.S.C. S$ 2201 and2202. Section 2201states:

      (a) In a case of actual controversy within its jurisdiction,  except with
      respect to Federal taxes other than actions brought under section 7428
      of the Internal Revenue Code of 1986, a proceeding under section 505
      or I 146 of title 11, or in any civil action involving an antidumping or
      countervailing duty proceeding regarding a class or kind of
      merchandise of a free trade area country (as defined in section
      5164(0(10) of the Tariff Act of 1930), as determined by the
      administering authority, any court of the United States, upon the filing
      of an appropriate pleading, may declare the rights and other legal
      relations of any interested party seeking such declaration, whether or
      not further relief is or could be sought. Any such declaration shall have
      the force and effect of a final judgment or decree and shall be
      reviewable as such.

      (b) For limitations on actions brought with respect to drug patents see
      section 505 or 512 of the Federal Food, Drug, and Cosmetic Act, or
      section 351 of the Public Health Service Act.

And 28 U.S.C. $ 2202 expands on the authority granted in g 2201: "Further
necessary or proper relief based on a declaratory judgment or decree may be granted,
after reasonable notice and hearing, against any adverse party whose rights have
been determined by such judgment."
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        Not only does the court fail to see how these sections relate to the allegations
 in plaintiffs complaint, long-standing precedent establishes this court lacks
jurisdiction to act under them. See Pub. Serv. Co, of Colorado v. United States,2
 Cl. Ct. 380, 382 (1983) ("[T]he Claims Court lacks the power to award declaratory
judgments under 28 U.S.C. $ 2201."). Any claims based on 28 U.S.C. gg 2201 or
2202 are dismissed for lack of iurisdiction.

III.   Violations of 26 U.S.C. $ 6103

       In the final count of the complaint, plaintiff alleges that the govemment
violated its duty under 26 U.S.C. S 6103 to keep all information associated with his
tax returns confidential. See Doc. I aI23-25. Taxpayers may assert a civil claim for
damages resulting from a violation of $ 6103 "in a district court of the United
States." 26U.S.C. $7a3 l(a)(1). TheCourtofFederalClaimsisnotadistrictcourt,
and thus, is not empowered to consider plaintiffs claims. See Taylor v. United
States, 616 F. App'x 423, 425 (Fed. Cir. 2015); Calhoun v. United States, 32 F ed.
Cl. 400, 407 (1994), aff'd,61F.3d 918 (Fed. Cir. 1995). Plaintiff s third count is,
therefore, dismissed for lack of jurisdiction.

IV.    Claims asserted on behalf of plaintiff s company

       Throughout the complaint, plaintiff repeatedly asserts claims on behalf of
himself and "his associated startup company," or "his associated company." See,
e.g., Doc. I at 1, 3, 8, 15,22. He also, at one point, states that he is bringing this
lawsuit on his own behalf and "for the putative class." See id. at 5. Because he
makes no mention of other potential class members, or any sort of general injury,
the court assumes that plaintiff refers to himself and his company together as the
"putative class." As the court has explained, it has nojurisdiction to hear plaintiffs
claims. The court also notes that, as apro se litigant, plaintiff is not entitled to assert
claims on behalf of a corporation or other entity. See RCFC 83.1(a)(3) ("An
individual who is not an attomey may represent oneself or a member of one's
immediate family, but may not represent a corporation, an entity, or any other person
in any proceeding before this court.").

                                    CONCLUSION

        For the foregoing reasons, plaintiffs complaint is, hereby, DISMISSED in
its entirety.
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SO ORDERED.


                                     es F. Merow,
                                  Senior Judge
